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                                      UNITED STATES DISTRICT COURT
                                           DISTRICT OF NEVADA




OLD REPUBLIC INSURANCE COMPANY,                                    Case No. 3:17−cv−00295−MMD−WGC
                      Plaintiffs,                                  Dated: August 22, 2017
vs.                                                                NOTICE REGARDING INTENTION TO
                                                                   DISMISS PURSUANT TO RULE 4(m)
FLYING START AERO, LLC, et al.,                                    OF THE FEDERAL RULES OF CIVIL
                                                                   PROCEDURE
                     Defendants.



To: Plaintiff

      The official file in the above−entitled action reflects that the complaint was filed on 5/10/2017. Federal Rule
of Civil Procedure 4(m) provides, in part, as follows:

        ". . . If a defendant is not served within 90 days after the complaint is filed, the court − on motion or
        on its own after notice to the plaintiff − must dismiss the action without prejudice against that
        defendant or order that service be made within a specified time. But if the plaintiff shows good cause
        for the failure, the court must extend the time for service for an appropriate period. . ."

      To date, there has been no proof of service filed as to: Estate of James Elliker, Jaime Garcia, Randal Green,
Keri Green, Estate of Jerry Williams, Robert Smith, and Steve McDowell.

       Notice is given that this action may be dismissed without prejudice as to above parties unless proof of service
is filed with the clerk by 09/21/2017. Service on the party must have taken place prior to the expiration of the time
limit set forth in Fed.R.Civ.P. 4(m), or good cause must be shown as to why such service was not made in that
period.

      Failure to comply with this notice may result in dismissal of the action without prejudice as to said parties.


                                                           DEBRA K. KEMPI, CLERK



                                                           By: /s/ Wayne Julian

                                                                  Deputy Clerk
